                                             United States Bankruptcy Court
                                                  Central District of California
In re     Jinnie Jinhuei Chang Chao                                                   Case No.   15-31519
                                                               Debtor(s)              Chapter    11



                COVER SHEET FOR APPLICATION FOR PROFESSIONAL COMPENSATION
                            (IN CASES UNDER CHAPTERS 7, 11 AND 12)


Name of Applicant:         Onyinye N Anyama

Authorized to Provide Professional Services to:            Jinnie Jinhuei Chang Chao

Date of Order Authorizing Employment:                January 10, 2016

Period for Which Compensation is Sought:
From:       February 21, 2018                Through:       October 24, 2023

Amount of Fees Sought: $              39,860.00

Amount of Expense Reimbursement Sought: $                  214.29

This is an: Interim Application          X                   Final Application


If this is not the first application filed herein by this professional, disclose as to all prior fee applications:

        Date                 Period                   Total Requested            Total Allowed         Fees & Expenses
        Filed               Covered                  (Fees & Expenses)        (Fees and Expenses)       Previously Paid

 3/15/2017              12/7/15-3/14/17                 $22,360.00                 $18,000.02               $10,000.00

 2/21/2018              3/16/17-2/20/18                  $8,058.38                 $8,058.38                $16,058.40




Date:      November 1, 2023                                      By:       /s/Onyinye N. Anyama
                                                                        Onyinye N Anyama
                                                                        Attorney for Debtor(s)
                                                                        Anyama Law Firm, APC
                                                                        18000 Studebaker Rd.
                                                                        Suite 325
                                                                        Cerritos, CA 90703
                                                                        Phone: (562) 645-4500
                                                                        info@anyamalaw.com



          Case: 15-31519       Doc# 386         Filed: 11/01/23        Entered: 11/01/23 21:12:58     Page 1 of
                                                            19
 1   Onyinye Anyama Esq. (SBN: 262152)
     Anyama Law Firm | A Professional Law Corporation
 2   18000 Studebaker Road, Suite 325
     Cerritos, Ca 90703
 3   Tel: (562) 645-4500 Fax: (562) 645-4494
     E-mail: info@anyamalaw.com
 4

 5   Attorney for Debtor
 6
                                   UNITED STATES BANKRUPTCY COURT
 7                                 NORTHERN DISTRICT OF CALIFORNIA
 8                                         SAN FRANCISCO DIVISION
 9

10
      In Re:                              ) Case No. 15-31519-DM
                                          )
11                                        )
                                          ) Chapter 11
12                                        )
      JINNIE JINHUEI CHANG CHAO
                                          )
13
                                          )
14                                        )
                                          )
15                                Debtor  )
                                          )
16                                        )
          THIRD INTERIM APPLICATION FOR COMPENSATION FOR LEGAL SERVICES
17
        RENDERED AND REIMBURSEMENT OF EXPENSES ON BEHALF OF ANYAMA LAW
18
                                     FIRM FOR DEBTOR IN POSSESSION
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20
     Comes now Anyama Law Firm attorney for the Debtor in possession and respectfully submits the herein
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     application for compensation under. Rule 2002 of the Bankruptcy Rules and B.L.R. 9029-1.
22
                                          NOTICE OF APPLICATION
23
     Notice of this Application is being sent concurrently with its filing to the Debtor, the Office of the United
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     States Trustee, and all other parties required by the Court by ECF or by mail if a party is not registered.
25
     Applicant respectfully submits that no further notice is required in this matter.
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                                             APPLICATION FOR COMPENSATION
     Case: 15-31519        Doc# 386     Filed: 11/01/23 1 Entered: 11/01/23 21:12:58           Page 2 of
                                                    19
 1   The Debtor has also been provided a copy of this Application and an opportunity to review the

 2   Application pursuant to the UST Guidelines. A true and correct copy of the cover letter sent concurrently

 3   with the Application to the Debtor is attached to the Anyama Declaration as Exhibit "D", in accordance

 4   with the UST Guidelines.
 5                                              INTRODUCTION
 6          1.     The within case was commenced by filing a voluntary Chapter 11 petition on December
 7   4, 2016. A trustee has not been appointed and the Debtor is in possession of the estate.
 8          2.     Employment: The court authorized the Debtor's employment of Applicant on January 10,
 9   2016. [See court Docket# 34].
10          3.     Prior Compensations: On April 7, 2017 Applicant filed its “First” interim fee application
11   [See Court Docket #106]. In its first interim fee application, applicant sought court approval for interim
12   fees $21,280.00, and reimbursement of costs incurred by Applicant during the Application Period in the
13   amount of $1,080.02 for a total award of $22,360.02. Applicant further requested that upon granting this
14   application, it be permitted to apply the sum of $10,000.00; (Pre petition retainer in Attorney client trust
15   account). At the hearing held on May 5, 2017 the court approved the application for compensation .in
16   part and the balance of the fees was deferred. The court ordered that Applicant was allowed to withdraw
17   the balance of the retainer in the Attorney-Client Trust Account in the amount of $10,000. The court
18   deferred any decision granting or denying the application for the balance of fees requested. [See Court
19   Docket #143].
20          On February 21, 2018 the applicant filed the “Second” interim Fee application See docket No.
21   191]. The Second application sought interim compensation for the period from March 16, 2017 through
22   February 20, 2018, which application was approved in the amount of $7,390.00 in fees and $668.38 in
23   unreimbursed expenses by order dated May 16, 2018 [See Court docket No. 219].
24   On May 16, 2018 the Court issued an order regarding the deferred balance of First application stating as
25   follows:
26                 “Applicant is allowed, on an interim basis, fees in the amount of $16,920.00
27
                   and costs in the amount of $1,080.02. After application of the sum of the
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                                            APPLICATION FOR COMPENSATION
     Case: 15-31519      Doc# 386      Filed: 11/01/23 2 Entered: 11/01/23 21:12:58           Page 3 of
                                                   19
 1                 $10,000.00 retainer, Applicant is entitled to payment of $6,920.00 in fees and

 2                 $1,080.02 in costs. The balance of the fees sought in the First application

 3                 $4,360.00) is disallowed.”

 4          Applicant has been paid $26,058.40 on the previous approved applications. This application seeks
 5          allowance of fees for services above and beyond those fees already approved (“additional fees”).
 6          4.      Current Compensation: This application covers professional services rendered from
 7   February 21, 2018 through October 24, 2023 and expenses. Applicant rendered services with an additional
 8   value of $39,860.00. Applicant determined this figure more fully set forth in the detailed time records filed
 9   with this application.
10          5.      Expenses: During the same time period, Applicant also incurred expenses of $214.29 as
11   detailed time records filed with this application. The total of the aforesaid fees and expenses is $40,074.29.
12          6.      Compliance with guidelines: As a general rule, Applicant's billing practices and hourly
13   rates are identical for bankruptcy and non-bankruptcy clients. The costs charged to bankruptcy estates are
14   either identical to or less than the costs charged to non-bankruptcy clients. This application is in compliance
15   with this Court's Guidelines for Compensation and Expense Reimbursement of Professionals and Trustees
16   ("Guidelines for Professionals"). Applicant does not include word processing costs in its expenses and does
17   not mark-up its expenses.
18          7.      Status of the Case: The Debtor has filed all schedules and statements of financial affairs
19   and is in full compliance with all reporting and administrative requirements established by the OUST. The
20   Debtor has also filed all Monthly Operating Report.
21          Applicant prepared and filed debtor's proposed combined Plan of reorganization and Disclosure
22   statement and filed on July 21, 2023. The hearing was set and be held on September 28, 2023. At the
23   hearing, the court approved the Disclosure statement with some requests modifications and confirmation
24   hearing is set for October 27, 2023.
25      8. 2016(b) Statement: Applicant has not agreed to share any compensation to be awarded herein with
26   any other person. Applicant has neither received nor been promised other compensation for its services as
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     counsel for the Debtor herein, other than as may be awarded by the Court herein.
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                                             APPLICATION FOR COMPENSATION
     Case: 15-31519       Doc# 386      Filed: 11/01/23 3 Entered: 11/01/23 21:12:58           Page 4 of
                                                    19
 1                                         SUMMARY OF APPLICATION

 2         Pursuant to Bankruptcy Code §§327, 328, 330 and 331, Bankruptcy Rule 2016(a), L.R.7-216, and the

 3   court's Guidelines for Professionals, Applicant requests that this court allow the following $39,860.00 as

 4   compensation and $214.29 as reimbursement of expenses.
 5                                            REQUIRED DISCLOSURE
 6         Applicant has not agreed to fix the fees or other compensation to be paid for services rendered and
 7   expenses incurred in connection with this case. Applicant has not agreed to share the compensation to be
 8   received for the services rendered in this case. The hourly rate charged by Applicant is at or below the
 9   customary rates charged by other comparably skilled practitioners in business and Chapter 11 bankruptcy
10   cases. Applicant’s rate in this case is not greater than her standard rate charged to comparable clients for
11   comparable services in other bankruptcy cases and matters.
12         As set forth below, Applicant has compiled a project-based itemization of services rendered based on
13   contemporaneous daily records during the period covered by this Application. Applicant utilized some of
14   the project categories suggested by the UST Guidelines, which also permits case-specific categories. The
15   following chart summarizes project billing categories and the total hours expended for each category
16   during the period covered by this Application, and is followed by a narrative and detail
17            Category                             Total Hours                            Total Fees
18            1. Case Administration                       74.1                           $29,340.00
19            2. Fee/ Employment Applications              6.3                            $2,520.00
20            3. Court Appearance                          4.8                            $1,920.00
21            4. Motions                                   3.5                            $1,400.00
22            5. Disclosure Statement/Plan                 11.7                           $4,680.00
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24   ///
25   ///
26   ///
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     ///
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                                             APPLICATION FOR COMPENSATION
     Case: 15-31519        Doc# 386      Filed: 11/01/23 4 Entered: 11/01/23 21:12:58         Page 5 of
                                                     19
 1                                         SUMMARY OF SERVICES

 2          The services rendered by Applicant are set forth in detail in Exhibit "A" attached hereto, and they

 3   are summarized as follows:

 4      1. COMMENCEMENT OF CASE
 5          Applicant was retained as general insolvency counsel to the Debtor to assist her on behalf of her
 6   estate in this case in her role as debtor-in-possession. This case was commenced by the filing of a voluntary
 7   petition for relief under Chapter 11 of the Bankruptcy Code on December 4, 2016 (the "Petition Date").
 8   Ms. Chao intends to continue in the possession of her properties as debtor-in-possession pursuant to
 9   Sections 1107 and 1108 of the bankruptcy code.
10          Ms. Chao is an individual domiciled and with her primary residence within the San Francisco
11   County State of California. Ms. Chao is a self-employed real estate broker and also receives income from
12   her rental properties. Ms. Chao is engaged in the business of sale of real properties. The major assets of
13   Ms. Chao are five real properties owned by Ms. Chao.
14          The event leading to bankruptcy was due to the economic downturn in 2008 and the near collapse
15   of the real estate industry. Ms. Chao (real estate professional) experienced major decrease in her income.
16   She attempted to reorganize her debt by filing Chapter 13 cases in 2015 pro se. However, the case was
17   dismissed since Ms. Chao represented herself and was unsophisticated in bankruptcy matters. Ms. Chao
18   employed the applicant to file her Chapter 11 bankruptcy to reorganize her debt.
19          Virtually all of the Debtor's assets are encumbered by holders of prior secured claims. The principal
20   assets of the estate are the following properties currently owned by the debtor.
21

22    8108 Penobscot Ln. McKinney TX                        305 St Andrews Dr. Pinehurst NC
23
      701 Braxton Ct. McKinney TX                           9 Maverick PL Pinehurs
24
      30 Pilarcitos Ct Hillsborough CA
25
            On January 10, 2016, this Court entered an order appointing Anyarna Law Firm as Debtor's General
26
     Insolvency and Bankruptcy Counsel.
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                                            APPLICATION FOR COMPENSATION
     Case: 15-31519       Doc# 386      Filed: 11/01/23 5 Entered: 11/01/23 21:12:58          Page 6 of
                                                    19
 1            Among other things, Applicant assisted the Debtor in preparing and filing the voluntary chapter 11

 2   petition and in preparing and filing the schedules, statement of financial affairs and other initial documents.

 3   Applicant analyzed the background and financial affairs of the Debtor (including assets, expenses, liens,

 4   in addition to mortgage statements, financial statements, rent rolls and other information). The Debtor
 5   maintains most of this information in numerous documents, which presented an unusual challenge to
 6   Applicant that required special attention.
 7             Applicant further assisted the Debtor by preparing real property questionnaires and the Initial
 8   Debtor Interview materials provided to the office of the United States Trustee. Applicant appeared at the
 9   Initial Debtor Interview and the Section 34l(a) Meeting of Creditors, and Applicant also advised the Debtor
10   in opening debtor-in-possession bank accounts.
11            Applicant assisted the Debtor in successfully preparing a motion for authority to use the cash
12   collateral of secured creditors generated by debtor's rented real properties. Considerable time was spent in
13   collecting required information (rent rolls, proof of rent received, proof of expenses, and other
14   information), calculating rental income and expenses, generating budgets for the Rental Properties an
15   advising the Debtor on the appropriate use of cash collateral.
16         2. CASE ADMINISTRATION
17            The Firm assisted the Debtor with substantially all aspects of the administration of the within case,
18   including by advising the Debtor with respect to her duties as debtor-in-possession and by reviewing and
19   filing monthly operating reports. The firm analyzed the financial affairs and documents of the Debtor,
20   developed case strategies, addressed issues regarding debtor-in-possession accounts, coordinated with
21   other professionals, and reviewed and analyzed questions regarding proofs of claims.
22         The preparation and submission of the operating reports, along with the preparation, filing and
23   appearances at Status conferences are part of this category.
24         In connection with this category, Applicant earned $29,340.00 in attorney's fees, as detailed in attached
25   Exhibit “A”.
26   ///
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     ///
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                                              APPLICATION FOR COMPENSATION
     Case: 15-31519         Doc# 386      Filed: 11/01/23 6 Entered: 11/01/23 21:12:58          Page 7 of
                                                      19
 1      3. MOTIONS/CLAIM OBJECTIONS

 2          On June 28, 2023 the U.S. Trustee filed a Motion to Dismiss or Convert the instant case. Applicant

 3   reviewed the Motion. Applicant prepared and reviewed debtor's opposition to the said motion and prepare

 4   for and attend the hearings on this motion and the hearing is set and will be held on October 27, 2023.
 5          In connection with this category, Applicant earned $1,400.00 in attorney's fees, as detailed in
 6   attached Exhibit “A”.
 7      4. EMPLOYMENT OF PROFESSIONALS/ FEE APPLICATIONS
 8          During the period covered by this application the applicant prepared her fee applications, including
 9   by reviewing its billing records, the docket of the within case, the firm's file and other documents, among
10   other things. The preparation of this fee application required the firm to analyze billing and expense records
11   and to properly categorize time.
12          Applicant prepared applications to employ Ethan A. Balogh and Bernard J. Kornberg as Special
13   counsels to represent the Debtor in the active Adversary Case (two separated applications to employ) but
14   on August 16, 2023 the Debtor and proposed Special Counsel Ethan A. Balogh decided to surrender his
15   application to employ and applicant prepare and file the corresponding motion to withdrawal his
16   application to employ. The court entered the order employing Bernard J. Kornberg on August 18, 2023.
17          In connection with this category, Applicant earned $2,520.00 in attorney's fees, as detailed in
18   attached Exhibit “A”.
19

20      5. PLAN AND DISCLOSURE STATEMENT
21          Counsel reviewed and prepared debtor's combined plan and disclosure statement. On July 21, 2023
22   Applicant prepared and filed debtor's proposed combined Plan of reorganization and Disclosure statement.
23   At the hearing, the court approved the Disclosure statement and confirming the plan. The confirmation
24   hearing is set for and held on October 27, 2023.
25          In connection with this category, Applicant earned $4,680.00 in attorney's fees, as detailed in
26   attached Exhibit “A”.
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                                            APPLICATION FOR COMPENSATION
     Case: 15-31519       Doc# 386      Filed: 11/01/23 7 Entered: 11/01/23 21:12:58          Page 8 of
                                                    19
 1      6. COURT APPEARANCE

 2          Applicant prepared for and appeared at several hearings on behalf of the debtor, including, status

 3   conference, Motion to sell real estate, disclosure statement and Plan hearings. In connection with this

 4   category, Applicant earned $1,920.00 in attorney’s fees as detailed in attached Exhibit “A”.
 5

 6   BREAKDOWN OF EXPENSES INCURRED
 7          From March 21, 2018, through October 24, 2023, Applicant incurred the following expenses:
 8

 9         Expense                                   Total Cost
10         Photocopies costs                         $97.50
11         Postages costs                            $116.79
12

13                                                   $214.29
14

15
            In accordance with this Court's Guidelines for Professionals, Applicant's policy is to charge Clients
16
     $.10 per page for internal photocopying and actual costs associated with postage, court fees and research.
17

18
                                          ESTABLISHMENT OF FEES
19
            A compensation award based on a reasonable hourly rate multiplied by the number of hours actually
20
     and reasonably expended is presumptively a reasonable fee. In re Manoa Finance Company, 853 F.2d 687,
21
     689 (9th Cir. 1988). Establishing a reasonable hourly rate requires consideration of market rates in the
22
     relevant community which are, in tum, at least partly function of the type of services rendered and the
23
     lawyer's experience, skill, and reputation.
24
                                              PRAYER FOR RELIEF
25
     WHEREFORE, Applicant prays for entry of an order:
26
        1. Approving and allowing compensation in the amount of $39,860.00
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                                            APPLICATION FOR COMPENSATION
     Case: 15-31519       Doc# 386      Filed: 11/01/23 8 Entered: 11/01/23 21:12:58         Page 9 of
                                                    19
 1      2. Approving and allowing reimbursement of expenses in the amount of $214.29, for a total of

 2         $40,074.29 in this third fee application.

 3      3. For such other and further relief as the court deems appropriate.

 4

 5   Dated: October 27, 2023                                    ANYAMA LAW FIRM, A.P.C
 6

 7                                                       By: /s/Onyinye N. Anyama
                                                            Onyinye N. Anyama
 8
                                                            Attorney for Debtor
 9                                                          Jinnie Jinhuei Chang Chao

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                                           APPLICATION FOR COMPENSATION
     Case: 15-31519     Doc# 386      Filed: 11/01/23    9Entered: 11/01/23 21:12:58    Page 10 of
                                                   19
 1                                              CERTIFICATION

 2          I Onyinye Anyama, counsel of record for the Debtor certify that I have read the application herein

 3   and to the best of my knowledge, information and belief, formed after responsible inquiry, the

 4   compensation and expense reimbursement sought is in conformity with the Guidelines for Compensation
 5   and Expense Reimbursement of Professionals promulgated by this court and the compensation and expense
 6   reimbursement request are billed at rates accordance with practices no less favorable than those customarily
 7   employed by the applicant and generally accepted by the applicant's debtor-in-possession clients.
 8   Dated: October 27, 2023                                      ANYAMA LAW FIRM, A.P.C
 9

10                                                        By: /s/Onyinye N. Anyama
                                                             Onyinye N. Anyama
11
                                                             Attorney for Debtor
12                                                           Jinnie Jinhuei Chang Chao

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                                            APPLICATION FOR COMPENSATION
     Case: 15-31519      Doc# 386      Filed: 11/01/23    10
                                                           Entered: 11/01/23 21:12:58       Page 11 of
                                                    19
                        EXHIBIT "A"




Case: 15-31519   Doc# 386   Filed: 11/01/23   Entered: 11/01/23 21:12:58   Page 12 of
                                         19
Anyama Law Firm,
A Professional CorporaƟon
18000 Studebaker Road #325, Cerritos, CA 90703
Tel: (562) 645-4500
Email: onyi@anyamalaw.com


To: Jinnie Jinhuei Chang Chao



SERVICES

CASE ADMINISTRATION
    Date            Activity                          Description                  Quantity    Price    Total
   2/21/2018   Case Administration   Prepare and file Notice of Hearing re
                                     Disclosure Statement                            0.3      $400.00   $120.00
   2/21/2018   Case Administration   Final review and file Operating Report for
                                     period ending 1/31/2018                         0.3      $400.00   $120.00
   3/20/2018   Case Administration   Operating Report for 2/28/2018                  0.3      $400.00   $120.00
   4/19/2018   Case Administration   Operating report for 3/31/2018                  0.3      $400.00   $120.00
   4/23/2018   Case Administration   Review Transfer of Claim on Proof of Claim
                                     #6 of Pennymac                                  0.5      $400.00   $200.00
   5/24/2018   Case Administration   Operating Report of 4/30/2018                   0.5      $400.00   $200.00
   6/20/2018   Case Administration   Operating report for 5/31/2018                  0.5      $400.00   $200.00
    8/2/2018   Case Administration   Operating report for 6/30/2018                  0.5      $400.00   $200.00
   8/14/2018   Case Administration   Operating report for 7/31/2018                  0.5      $400.00   $200.00
   8/16/2018   Case Administration   Status Conference Statement                     0.5      $400.00   $200.00
   9/12/2018   Case Administration   Prepare and file Notice of Change of
                                     address for Debtor                              0.2      $400.00    $80.00
   9/14/2018   Case Administration   Operating report for 8/31/2018                  0.5      $400.00   $200.00
  10/17/2018   Case Administration   Operating repot of 9/30/2018                    0.5      $400.00   $200.00
  11/27/2018   Case Administration   Operating report of 10/31/2018                  0.5      $400.00   $200.00
  11/27/2018   Case Administration   Prepare file and service of Updated Status
                                     Conference Statement                             1       $400.00   $400.00
  12/12/2018   Case Administration   Prepared Operating Report for the month of
                                     November 2018                                   0.5      $150.00    $75.00
  12/12/2018   Case Administration   Operating report of 11/30/2018                  0.5      $400.00   $200.00
  12/17/2018   Case Administration   Telephone Conference with debtor and
                                     counsel on crimininal case regarding
                                     adversary case
                                                                                     0.5      $400.00   $200.00
    1/8/2019   Case Administration   Review Court's tentative ruling re Status
                                     Conference                                      0.8      $400.00   $320.00
   1/22/2019   Case Administration   Operating report of 12/31/2018                  0.5      $400.00   $200.00
   2/12/2019   Case Administration   Preparation of the Monthly Operating Report
                                     for January 2019.                               0.7      $150.00   $105.00
   2/12/2019   Case Administration   Operating report of 1/31/2019                   0.5      $400.00   $200.00
   2/12/2019   Case Administration   Operating Report of 01/31/2019                  0.5      $400.00   $200.00
   3/15/2019   Case Administration   Preparation and filing of the monthly
                                     operating report for February 2019.             0.5      $400.00   $200.00
   3/19/2019   Case Administration   Operating report of 2/28/2019                   0.5      $400.00   $200.00




Case: 15-31519       Doc# 386        Filed: 11/01/23        Entered: 11/01/23 21:12:58          Page 13 of
                                                  19
   4/11/2019   Case Administration   Prepare file and service of 2nd Status
                                     Conference Statement                         1     $400.00   $400.00
   4/19/2019   Case Administration   Review and calendar continued Status
                                     Conference hearing set by Court              0.5   $400.00   $200.00
   4/26/2019   Case Administration   Operating report of 3/31/2019                0.5   $400.00   $200.00
   5/31/2019   Case Administration   Operating report of 4/30/2019                0.5   $400.00   $200.00
   6/17/2019   Case Administration   Operating report for 5/31/2019               0.5   $400.00   $200.00
   6/20/2019   Case Administration   Prepare file and service of Updated status
                                     conference statement                         1     $400.00   $400.00
   6/26/2019   Case Administration   Communication with creditor's Counsel re
                                     Continuation of status conference hearing    0.3   $400.00   $120.00
   8/16/2019   Case Administration   Operating report of 6/30/2019                0.5   $400.00   $200.00
   8/20/2019   Case Administration   Operating Report of 7/31/2019                0.5   $400.00   $200.00
   8/26/2019   Case Administration   Review Motion for Relief from Automatic
                                     Stay of Wilmington Trust                     1     $400.00   $400.00
    9/9/2019   Case Administration   Prepare file and service of Updated Status
                                     Conference Statement                         1     $400.00   $400.00
   9/11/2019   Case Administration   Review and sign Stipulation with creditor
                                     Wilmington Trust re MRS                      0.3   $400.00   $120.00
   9/12/2019   Case Administration   Communications with Creditor Wilmington
                                     Trust re APO Agreement between parties
                                     regarding MRS
                                                                                  1     $400.00   $400.00
   9/12/2019   Case Administration   Prepare and attend hearing re Motion for
                                     Relief From Stay filed by Wilmington Trust    1    $400.00   $400.00
  11/18/2019   Case Administration   Operating report of 8/31/2019                0.5   $400.00   $200.00
  11/18/2019   Case Administration   Operating report of 9/30/2019                0.5   $400.00   $200.00
  11/18/2019   Case Administration   Operating report of 10/31/2019               0.5   $400.00   $200.00
  12/11/2019   Case Administration   Prepare file and service of Updated Status
                                     Conference report.                           0.8   $400.00   $320.00
   1/31/2020   Case Administration   Operating report of 11/30/2019               0.5   $400.00   $200.00
   1/31/2020   Case Administration   Operating report of 12/31/2019               0.5   $400.00   $200.00
   3/16/2020   Case Administration   Prepare and file Supplemental Status
                                     conference statement                         0.8   $400.00   $320.00
   3/31/2020   Case Administration   Operating report of 1/31/2020                0.5   $400.00   $200.00
   3/31/2020   Case Administration   Operating report of 2/29/2020                0.5   $400.00   $200.00
   5/20/2020   Case Administration   Operating report of 3/31/2020                0.5   $400.00   $200.00
   5/22/2020   Case Administration   Operating report of 4/30/2020                0.5   $400.00   $200.00
   6/17/2020   Case Administration   Review and calendar Order Changing time
                                     of hearing re Status Conference              0.2   $400.00    $80.00
   6/25/2020   Case Administration   Operating report of 5/31/2020                0.5   $400.00   $200.00
   6/25/2020   Case Administration   Prepare and telephonically attend Status
                                     Conference Hearing                            1    $400.00   $400.00
   7/29/2020   Case Administration   Operating report of 6/30/2020                0.5   $400.00   $200.00
   8/28/2020   Case Administration   Operating report of 7/31/2020                0.5   $400.00   $200.00
   9/25/2020   Case Administration   Operating report of 8/31/2020                0.5   $400.00   $200.00
  10/23/2020   Case Administration   Operating report of 9/30/2020                0.5   $400.00   $200.00
  12/23/2020   Case Administration   Operating Report of 10/31/2020               0.5   $400.00   $200.00
  12/23/2020   Case Administration   Operating report of 11/30/2020               0.5   $400.00   $200.00
   1/21/2021   Case Administration   Operating report of 12/31/2020               0.5   $400.00   $200.00
   2/19/2021   Case Administration   Operating report of 1/31/2021                0.5   $400.00   $200.00
   2/19/2021   Case Administration   Updated Status Conference Statement           1    $400.00   $400.00




Case: 15-31519       Doc# 386        Filed: 11/01/23       Entered: 11/01/23 21:12:58     Page 14 of
                                                  19
   2/23/2021   Case Administration   Review and calendar Continued date for
                                     Status Conference hearing                    0.5    $400.00   $200.00
   5/21/2021   Case Administration   Operating report of 2/28/2021                0.5    $400.00   $200.00
   5/24/2021   Case Administration   Operating report of 3/31/2021                0.5    $400.00   $200.00
   5/24/2021   Case Administration   Operating report of 4/30/2021                0.5    $400.00   $200.00
    6/5/2021   Case Administration   Communication with Secured Creditor
                                     (Wilmington) re NON-Cure of Default as
                                     APO                                          0.2    $400.00    $80.00
   6/20/2021   Case Administration   Various Calls with Debtor re Wilmington
                                     Notice of Delinquency payments               1      $400.00   $400.00
   6/22/2021   Case Administration   Review Creditor Wilmington Trust's filed
                                     Declaration of Non Cure of Default re APO
                                     signed
                                                                                  0.3    $400.00   $120.00
   6/23/2021   Case Administration   Prepare and file Objection to Creditor
                                     (Wilmington) filed Declaration of NON cure
                                     of Default
                                                                                  1      $400.00   $400.00
   6/25/2021   Case Administration   Review Order denying Creditor request for
                                     Default re MRS                               0.2    $400.00    $80.00
   6/30/2021   Case Administration   Review Court information re APO with
                                     Wilmington re Debtor's form of payments      0.5    $400.00   $200.00
   7/21/2021   Case Administration   Operating report of 5/31/2021                0.5    $400.00   $200.00
   7/21/2021   Case Administration   Operating report of 6/30/2021                0.5    $400.00   $200.00
   8/25/2021   Case Administration   Operating report of 7/31/2021                0.5    $400.00   $200.00
   9/27/2021   Case Administration   Operating report of 8/31/2021                0.5    $400.00   $200.00
  10/18/2021   Case Administration   Operating report of 9/30/2021                0.5    $400.00   $200.00
  10/27/2021   Case Administration   Prepare file and service of Updated Status
                                     Conference Statement                         1      $400.00   $400.00
  10/29/2021   Case Administration   Prepare and attend Status conference
                                     hearing                                      1.5    $400.00   $600.00
  10/29/2021   Case Administration   Prepare and attend Status conference
                                     hearing                                      1.5    $400.00   $600.00
  11/22/2021   Case Administration   Operating report of 10/31/2021               0.5    $400.00   $200.00
  12/17/2021   Case Administration   Operating Report of 11/30/2021               0.5    $400.00   $200.00
    1/7/2022   Case Administration   Prepare file and service of Updated status
                                     conference report                            1      $400.00   $400.00
   1/21/2022   Case Administration   Prepare file and service of Updated status
                                     conference report                             1     $400.00   $400.00
   1/24/2022   Case Administration   Operating Report of 12/31/2021               0.5    $400.00   $200.00
   1/24/2022   Case Administration   Review Court's tentative ruling continuing
                                     Status Conference                            0.2    $400.00    $80.00
   1/24/2022   Case Administration   Prepare and file Amended Operating report
                                     of 11/30/2021                                0.5    $400.00   $200.00
   2/22/2022   Case Administration   Operating Report of 1/31/2022                0.5    $400.00   $200.00
   3/21/2022   Case Administration   Operating Report of 2/28/2022                0.5    $400.00   $200.00
    4/8/2022   Case Administration   Prepare file and service of Updated status
                                     conference report                             1     $400.00   $400.00
   4/21/2022   Case Administration   Operating Report of 3/31/2022                0.5    $400.00   $200.00
   6/23/2022   Case Administration   Operating Report of 4/30/2022                0.5    $400.00   $200.00
   6/23/2022   Case Administration   Operating Report of 4/30/2022                0.5    $400.00   $200.00
   6/23/2022   Case Administration   Prepare file and service of Updated status
                                     conference report                             1     $400.00   $400.00
   6/23/2022   Case Administration   Operating Report of 5/31/2022                0.5    $400.00   $200.00
   7/25/2022   Case Administration   Operating Report of 6/30/2022                0.5    $400.00   $200.00




Case: 15-31519       Doc# 386        Filed: 11/01/23        Entered: 11/01/23 21:12:58     Page 15 of
                                                  19
   8/29/2022   Case Administration   Operating Report of 7/31/2022                0.5   $400.00   $200.00
   9/28/2022   Case Administration   Operating Report of 8/31/2022                0.5   $400.00   $200.00
  10/19/2022   Case Administration   Operating Report of 9/30/2022                0.5   $400.00   $200.00
  11/30/2022   Case Administration   Operating Report of 10/31/2022               0.5   $400.00   $200.00
  12/23/2022   Case Administration   Operating Report of 11/30/2022               0.5   $400.00   $200.00
   1/13/2023   Case Administration   Prepare for and attend Status conference
                                     hearing                                       1    $400.00   $400.00
   1/24/2023   Case Administration   Operating Report of 12/31/2022               0.5   $400.00   $200.00
   1/30/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00
   2/17/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.2   $400.00    $80.00
   2/19/2023   Case Administration   Prepare file and service of Updated status
                                     conference report                             1    $400.00   $400.00
   2/21/2023   Case Administration   Operating Report of 1/31/2023                0.5   $400.00   $200.00
   2/24/2023   Case Administration   Prepare for and attend Status conference
                                     hearing                                      1     $400.00   $400.00
   2/24/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.3   $400.00   $120.00
   2/24/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00
    3/2/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.2   $400.00    $80.00
   3/30/2023   Case Administration   Operating Report of 2/28/2023                0.5   $400.00   $200.00
    4/7/2023   Case Administration   Prepare file and service of Updated status
                                     conference report                             1    $400.00   $400.00
   4/21/2023   Case Administration   Operating Report of 3/31/2023                0.5   $400.00   $200.00
   4/21/2023   Case Administration   Prepare for and attend Status conference
                                     hearing                                      1     $400.00   $400.00
   4/26/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00
   5/18/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00
   5/22/2023   Case Administration   Operating Report of 4/30/2023                0.5   $400.00   $200.00
    6/2/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.2   $400.00    $80.00
    6/2/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.2   $400.00    $80.00
   6/23/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.2   $400.00    $80.00
   6/23/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00
   6/25/2023   Case Administration   Prepare file and service of Updated status
                                     conference report                             1    $400.00   $400.00
   6/28/2023   Case Administration   Review Trustee's Motion to Dismiss           0.5   $400.00   $200.00
   7/10/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.3   $400.00   $120.00
   7/10/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00
   7/10/2023   Case Administration   Telephone communication with debtor
                                     regarding case                               0.1   $400.00    $40.00




Case: 15-31519       Doc# 386        Filed: 11/01/23       Entered: 11/01/23 21:12:58     Page 16 of
                                                  19
   7/14/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.5       $400.00     $200.00
   7/20/2023   Case Administration   Operating Report of 5/31/2023                  0.5       $400.00     $200.00
   7/20/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.1       $400.00      $40.00
   7/27/2023   Case Administration   Operating Report of 6/30/2023                  0.5       $400.00     $200.00
   7/28/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.1       $400.00      $40.00
   7/28/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.2       $400.00      $80.00
   7/28/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.2       $400.00      $80.00
   8/13/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.2       $400.00      $80.00
   8/21/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.2       $400.00      $80.00
   8/21/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.2       $400.00      $80.00
   8/22/2023   Case Administration   Operating Report of 7/31/2023                  0.5       $400.00     $200.00
   8/28/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.3       $400.00     $120.00
   8/28/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.1       $400.00      $40.00
   8/28/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                 0.1       $400.00      $40.00
   8/29/2023   Case Administration   Telephone communication with debtor
                                     regarding case                                  0.4      $400.00      $160.00
                                               TOTAL CASE ADMINISTRATION            74.1                $29,340.00




MOTIONS
    Date            Activity                          Description                  Quantity    Price      Total
   7/14/2023        Motions          Prepare file and service of
                                     Brief/Memorandum in Opposition to Trustee's
                                     Motion to dismiss
                                                                                     1.5      $400.00     $600.00
   7/28/2023        Motions          Prepare for and Attend hearing re Trustee's
                                     Motion to Dismiss                                1       $400.00     $400.00
   8/18/2023        Motions          Prepare for and attend Hearing re Trustee's
                                     Motion to Dismiss                                1       $400.00     $400.00
                                                               TOTAL MOTIONS         3.5                 $1,400.00




Case: 15-31519       Doc# 386        Filed: 11/01/23       Entered: 11/01/23 21:12:58           Page 17 of
                                                  19
FEE / EMPLOYMENT APPLICATIONS
    Date            Activity                     Description                      Quantity    Price     Total
   7/21/2023    Fee/Employment   Prepare file and service for Application to
                     App         Employ Bernard J. Kornberg as Special
                                 Counsel
                                                                                     1       $400.00    $400.00
   7/21/2023    Fee/Employment   Prepare file and service for Application to
                     App         Employ Ethan A. Balogh as Special Counsel           1       $400.00    $400.00
   8/11/2023    Fee/Employment   Prepare for and attend Hearing re Special
                     App         Counsels Employment applications                    1       $400.00    $400.00
   8/16/2023    Fee/Employment   Prepare and file Withdrawal of application to
                     App         employ Ethan A. Balogh as Special Counsel          0.5      $400.00    $200.00
   8/18/2023    Fee/Employment   Review Order approving employment of
                     App         Bernard J. Kornberg as Special Counsel             0.2      $400.00     $80.00
  10/24/2023    Fee/Employment   Prepared and reviewed 3rd fee application
                     App                                                            2.6      $400.00   $1,040.00
                                                                                    6.3                $2,520.00



DISCLOSURE STATEMENT / PLAN
    Date             Activity                     Description                     Quantity    Price     Total
   2/21/2018   Disclosure        Prepare Attorney and Debtor's Declarations
               statement/Plan    supporting Disclosure Statement                    0.6      $400.00    $240.00
   2/21/2018   Disclosure        Notice of hearing for amended Disclosure
               statement/Plan    Statement                                          0.1      $400.00     $40.00
    3/1/2018   Disclosure        Review Limited Objection of Wilmington Trust
               statement/Plan    re Pilarcitos property.                            0.5      $400.00    $200.00
    3/1/2018   Disclosure        Review limited objection to Debtors
               statement/Plan    Combined Plan and Disclosure Statement             0.5      $400.00    $200.00
    3/8/2018   Disclosure        Hearing held and continued re: A revised
               statement/Plan    Plan and Disclosure Statement                       1       $400.00    $400.00
   3/14/2018   Disclosure        Amend Disclosure Statement and Chapter 11
               statement/Plan    Plan                                               0.7      $400.00    $280.00
   3/16/2018   Disclosure        Hearing Held. A revised Plan and Disclosure
               statement/Plan    Statement.
                                 Tentatively approving the Disclosure
                                 Statement
                                                                                     1       $400.00    $400.00
   4/10/2018   Disclosure        Preparation and service of Chapter 11 Plan
               statement/Plan    Order Approving Disclosure Statement and
                                 Ballots
                                                                                     1       $400.00    $400.00
   4/23/2018   Disclosure        Prepare and file Ballot Summary
               statement/Plan                                                       0.8      $400.00    $320.00
   4/23/2018   Disclosure        Service of filed Summary of Ballots
               statement/Plan                                                       0.2      $400.00     $80.00
   8/23/2018   Disclosure        Prepare and Attend hearing of Final Approval
               statement/Plan    of Disclosure Statement and Confirmation           1.5      $400.00    $600.00
   7/21/2023   Disclosure        Prepare file and service of Combined Plan of
               statement/Plan    Reorganization and Disclosure Statement             2       $400.00    $800.00
   7/28/2023   Disclosure        Prepare file and service for Notice of hearing
               statement/Plan    re Debtor's Combined Plan of Reorganization
                                 and Disclosure
                                 Statement
                                                                                    0.5      $400.00    $200.00




Case: 15-31519       Doc# 386    Filed: 11/01/23        Entered: 11/01/23 21:12:58            Page 18 of
                                              19
   8/10/2023   Disclosure          Review Objection to Confirmation of Debtor's
               statement/Plan      Chapter 11 Plan                                    0.5       $400.00     $200.00
   8/17/2023   Disclosure          Prepare file and service of Reply to Objection
               statement/Plan      to confirm Debtor's Chapter 11 Plan                 0.8      $400.00    $320.00
                                   TOTAL DISCLOSURE STATEMENT / PLAN                  11.7                $4,680.00




COURT APPEARANCE
    Date            Activity                       Description                      Quantity     Price      Total
  10/29/2021    Court Appearance   Prepare and attend Status Conference                1        $400.00     $400.00
   6/24/2022    Court Appearance   Prepare for and attend hearing re status
                                   conference                                         0.5       $400.00     $200.00
   1/13/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference                                         0.5       $400.00     $200.00
   2/24/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference                                         0.5       $400.00     $200.00
   4/21/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference                                         0.5       $400.00     $200.00
   7/28/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference/Motion to dismiss                       0.5       $400.00     $200.00
   8/11/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference/ employment application                 0.5       $400.00     $200.00
   8/14/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference /Motion to dismiss                      0.4       $400.00     $160.00
   8/18/2023    Court Appearance   Prepared for and attend hearing re status
                                   conference /Motion to dismiss                      0.4       $400.00    $160.00
                                                TOTAL COURT APPEARANCE                4.8                 $1,920.00




            CATEGORY                   TOTAL HOURS                  TOTAL FEES
 Case AdministraƟon                        74.1                        $29,340.00
 Fee / Employment ApplicaƟon                6.3                         $2,520.00
 MoƟons                                     3.5                         $1,400.00
 Disclosure Statement / Plan               11.7                         $4,680.00
 Court Appearance                           4.8                         $1,920.00



              Name                       Total hours                Hourly rate                Total Fees
 Onyinye N. Anyama                          99.2                           $400.00                $39,680.00
 Elizabeth Cruz                              1.2                           $150.00                    $180.00




Case: 15-31519       Doc# 386      Filed: 11/01/23       Entered: 11/01/23 21:12:58               Page 19 of
                                                19
